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6
                       IN THE UNITED STATES DISTRICT COURT
7
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,          )         2:08-CR-543-FCD
                                        )
10                       Plaintiff,     )
                                        )         RELATED CASE ORDER
11             v.                       )
                                        )
12   TIAN BAO GUO; ZHI DING; YONG DING; )
     JIMMY HUNG AU; ZHEN SHU PANG;      )
13   XIAOGUO SONG; ERIC YOU PANG;       )
     MAGGIE LUONG; ZU DONG LUO;         )
14   DONG SONG; JULIAN SONG,            )
                                        )
15                       Defendants.    )
                                        )
16                                      )
     UNITED STATES OF AMERICA,          )         2:08-CR-0391-GEB
17                                      )
                         Plaintiff,     )
18                                      )
               v.                       )
19                                      )
     ZI LEI, a/k/a Zi Ming Lei;         )
20   KEOOUDONE NOY PHAOUTHOUM;          )
     KOUTKEO THI; TING THAVISAK;        )
21   DE YANG, a/k/a De Qiang Yang;      )
     JOHN LI,                           )
22                                      )
                         Defendants.    )
23                                      )
24               Plaintiff’s “Notice of Related Cases” document filed on
25   December 8, 2008, states the above actions “are related . . .
26   because they arise from the same on-going law enforcement
27   investigation, share common legal issues, and involve related
28   parties.”    Accordingly, the assignment of the actions to the same


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1    judge is likely to effect a substantial savings of judicial effort
2    and is also likely to be convenient for the parties.
3                Under the regular practice of this court, related cases
4    are generally assigned to the judge to whom the first filed action
5    was assigned.     Therefore action 2:08-cr-543-FCD is reassigned to
6    Judge Garland E. Burrell, Jr., for all further proceedings.
7    Henceforth, the caption on documents filed in the reassigned case
8    shall show the initials “GEB” instead of the other judge’s
9    initials.
10               IT IS FURTHER ORDERED that the Clerk of the Court make
11   appropriate adjustment in the assignment of criminal cases to
12   compensate for this reassignment.
13               IT IS SO ORDERED.
14   Dated:    December 11, 2008
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16                                     GARLAND E. BURRELL, JR.
                                       United States District Judge
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